 Fill in this information to identify your case:

 Debtor 1                     Christian S. Radabaugh, Sr.
                              First Name                    Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number            18-34244
 (if known)                                                                                                                                      Check if this is an
                                                                                                                                                 amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                Unsecured claim
 1                                                                   What is the nature of the claim?                                           $ $827,000.00
              Agco Finance, LLC
              PO Box 2000                                            As of the date you file, the claim is: Check all that apply
              Johnston, IA 50131                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                 $ $947,000.00
                                                                                    Value of security:                               - $ $120,000.00
              Contact phone                                                         Unsecured claim                                    $ $827,000.00


 2                                                                   What is the nature of the claim?              Animal feed                  $ $26,045.00
              Central Oregon Ranch Supply
              PO Box 103                                             As of the date you file, the claim is: Check all that apply
              Redmond, OR 97756                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$


B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           Page 1

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                                                  Case 19-60230-pcm11                          Doc          Filed 12/08/18
 Debtor 1          Christian S. Radabaugh, Sr.                                                      Case number (if known)            18-34244

            Contact phone                                                           Unsecured claim                                    $


 3                                                                   What is the nature of the claim?              Equipment                     $ $128,000.00
            Edward P. Fitch
            210 SW 5th Street, Suite 2                               As of the date you file, the claim is: Check all that apply
            Redmond, OR 97756                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $128,000.00
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $128,000.00


 4                                                                   What is the nature of the claim?              (Per judgment)                $ $406,678.88
            GP LLC
            8611 NE Ochoco Hwy                                       As of the date you file, the claim is: Check all that apply
            Prineville, OR 97754                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                 $ $406,678.88
                                                                                    Value of security:                               - $ $0.00
            Contact phone                                                           Unsecured claim                                    $ $406,678.88


 5                                                                   What is the nature of the claim?                                            $ $67,000.00
            IRS
            Centralized Insolvency Operation                         As of the date you file, the claim is: Check all that apply
            PO Box 7346                                                      Contingent
            Philadelphia, PA 19114-7346                                      Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 6                                                                   What is the nature of the claim?              Tires                         $ $9,293.00
            Les Schwab Tires
            PO Box 646                                               As of the date you file, the claim is: Check all that apply
            Riley, OR 97758                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 2

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                                                  Case 19-60230-pcm11                          Doc          Filed 12/08/18
 Debtor 1          Christian S. Radabaugh, Sr.                                                      Case number (if known)            18-34244


                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 7                                                                   What is the nature of the claim?              Tractor tires                 $ $5,078.00
            Les Schwab Tires
            PO Box 646                                               As of the date you file, the claim is: Check all that apply
            Riley, OR 97758                                                  Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 8                                                                   What is the nature of the claim?              Fertilizer                    $ $44,664.00
            Midstate Fertilizer
            120 SW Glacier Ave.                                      As of the date you file, the claim is: Check all that apply
            Redmond, OR 97756                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 9                                                                   What is the nature of the claim?              Precautionary                 $ $0.00
            ODR Bkcy
            955 Center NE, #353                                      As of the date you file, the claim is: Check all that apply
            Salem, OR 97301-2553                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 10                                                                  What is the nature of the claim?              Repair to semi trucks.        $ $10,054.00
            Western Heavy Haul
            PO Box 672


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                                                  Case 19-60230-pcm11                          Doc          Filed 12/08/18
 Debtor 1          Christian S. Radabaugh, Sr.                                                      Case number (if known)            18-34244

            Prineville, OR 97754                                     As of the date you file, the claim is: Check all that apply
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                $
                                                                                    Value of security:                               -$
            Contact phone                                                           Unsecured claim                                   $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Christian S. Radabaugh, Sr.                                                  X
       Christian S. Radabaugh, Sr.                                                          Signature of Debtor 2
       Signature of Debtor 1


       Date      December 6, 2018                                                           Date




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                                                  Case 19-60230-pcm11                          Doc          Filed 12/08/18
